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IS 44 (Rev. 06/17) M MY ; j L COVER SHEET | 9-w- BAZ O

fa ee
The 35 44 civil cover sheet and the i {pemation edited ther ‘place not supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. Thigform, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket Blbet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

I. (a) PLAINTIFFS DEFENDANTS

Nicole Raytield Cheyney University of Pennsyivania, Jeffrey Jones, Aaron Walton

  
  
  

 

  

  
  
 

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(b) County of Residence of First Listed Plaintifff Delaware
(EXCEPT IN U.S. PLAINTIRF CASES)

County of Residence of First Listed Defendant
CIN U.S. PLAINTIFF CASES ONLY)

  
 

NOTE; INLAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVE
{c)} Attorneys (Firm Name, Address, and Telephone Number} Altomeys (if Knows)

Cathleen A. McCormack, Esq., University Legal Counsel,
Pennsylvania State System of Higher Education, 2986 North Second
Street, Harrisburg, PA 17110 (717) 720-4070

Jennifer C. Bell, Esq., Bell & Bell, LLP, 1617 JFK Blvd, Ste, 1254
Philadelphia, PA 19103 (275) 569-2500

 

 

 

Ii. BASES OF JURESDI Q (Place an “X” in One Box Only) Hi. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X" in One Box for Plaintiff
: (For Diversity Cases Only) and One Box for Defendant)
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Defendant (indicate Citizenship of Parties in Hens [ft of Business In Another State
Citizen or Subject of a o3 G 3. Foreign Nation Os 46
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110 Ensurance

120 Marine

130 Miller Act

140 Negotiable Instrument

150 Recovery of Overpayment
& Enforcement of Judgment

15] Medicare Act

132 Recovery of Defaulted
Student Loans
(Excludes Veterans}

153 Recovery of Overpayment
of Veteran's Benefits

160 Stockholders’ Suits

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CF 290 All Other Real Property

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Accommodations

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Habeas Corpus:
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G& 510 Motions to Vacate
Sentence
OC 536 General
0 535 Death Penalty
Other:
oF 540 Mandamus & Other
01 550 Civil Rights
0 555 Prison Condition
7) $60 Civil Detainee -
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Confinement

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17 625 Drug Related Seizure
of Property 21 USC 881
1 690 Other

G 710 Fair Labor Standards
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Relations

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6 751 Family and Medical
Leave Act

0 791 Employee Retirement
Encome Security Act

 

IMMIGRATION

 

    

 

  

 

 

0] 46% Other Immigration
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(1 422 Appeal 28 USC 158
O 423 Withdrawal
28 USC 157

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O 835 Patent - Abbreviated
New Drug Application

a 840 Trademark

Py 861 BIA (1395f)

CF 862 Black Lung (923)

GF 863 DIWC/DIWW (405f2)}
CF 864 SSID Title XVI

C7 865 RSI (40523)

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0 870 Taxes va S. Plaintiff
or Defendant)

O 871 IRS—Third Party

26 USC 7609

Click here for: Nature of Suit Code Deseri lions.

0 375 False Claims Act

© 376 Qui Tam (31 USC
3729{a})

0 400 State Reapportionment

40) 410 Antitrust

0 430 Banks and Banking

0 450 Commerce

1 460 Deportation

C1 470 Racketeer Influenced and
Corrupt Organizations

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0 490 Cable/Sat FV

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Exchange

0) 890 Other Statutory Actions

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Act

OF 896 Arbitration

& 899 Administrative Procedure
Act/Review or Appeal of
Agency Decision

0) 950 Constitutionality of
State Statutes

 

 

 

 

 

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Cite the U.S. Civil Statute under which you are filing (De not cite jurisdictional states unless diversity):

Family and Medical Leave Act, 29 U.S.C. § 2611, et sea.

Brief description of cause:

FMLA Retaliation; wrongful termination in violation of Pennsyivania law; Pennsylvania Whistetiower Law.

 

VI. CAUSE OF ACTION

 

 

 

 

 

 

VIL. REQUESTED IN [CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only/f demanded if'complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMANI: Yes | ONo
VII, RELATED CASE(S) a
IF ANY (See instructions): FUDGE DOCKET NUMBER
DATE SIQNATURE OF EY OF REC
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FOR OFFICE USE ONLY C)~
RECEIPT # AMOUNT PLYING IFP JUDGE MAG. JUDGE
Case 2:19-cv-03230-MMB Document1 Filed 07/24/19 Page 2 of 18

 
 
 

  

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

DESIGNATION FORM
1 (fo be used by counsel or pro se plaintiff te indicate the category of the case for the purpose of assigninent to the appropriate calendar)
ay

 

 

Address of Plaintiff; 513 Tatnall Avenue, Glenolden, Pennsylvania 19036
Address of Defendant: 1837 University Circle, Cheyney, Pennsylvania 19319
Place of Accident, Incident or Transaction: 1837 University Circle, Cheyney, Pennsylvania 19319

 

 

RELATED CASE, IF ANY:

Case Number: Judge: Date Terminated:

 

Civil cases are deemed related when Yes is answered to any of the following questions:

I. Is this case related to property included in an earlier numbered suit pending or within one year Yes [ |
previously terminated action in this court?

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes [|
pending or within one year previously terminated action in this court?

3. Does this case involve the validity or infringement ofa patent already in suit or any earlier Yes [ |
numbered case pending or within one year previously terminated action of this court?

4, Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights Yes [ |
case filed by the same individual?

   

  
    
 

snot related to any case now pending or within one year previously ‘te rpiefied action in

MY BL 81045

I certify that, to my knowledge, the withincase [7] is /
this court except as noted above.

pate, 07/24/2019

 

 

 

 

 

 

 

 

 

 

 

 

 

 

\ ( Attor}ep) at-Law / Pro Se Plaintiff Attorney LD. # (if applicable)
NS, =a
CIVIL: (Place a Vin one category only)
A Federal Question Cases: B. Diversity Jurisdiction Cases:
[] 1. Indemnity Contract, Marine Contract, and All Other Contracts LJ 1. Insurance Contract and Other Contracts
Ci 2. FELA [] 2. Airplane Personal Injury
[1 3. Jones Act-Personal Injury CJ 3. Assault, Defamation
Ci 4. Antitrust LJ 4. Marine Personal Injury
Li 5. Patent [] 5. Motor Vehicle Personal Injury
Lj 6. Labor-Management Relations L] 6. Other Personal Injury (Please specify):
Yih 7. Civil Rights [J 7. = Products Liabitity
(2; 8. Habeas Corpus CI 8. Products Liability - Asbestos
9. Securities Act(s) Cases’ LJ] 9. Ab other Diversity Cases
IQ. Social Security Review Cases (Please specify):
(tL. All other Federal Question Cases
(Please specify):
~, ARBIFRATION CERTIFICATION
4 Whe affect of this certification is ta remove the case from eligibility for arbitration)
I, Jennifer C . Bell , counsel of record or pro se plaintiff, do hereby certify:
Pursuant to Local Civi ¢@ 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
exceed the sum of $150,000.00 exclusive of interest and costs:

Relief other than monetary damages is sought.

pare, 07/24/2019 Vy ecw 81045

Aberin -d-Dave f Pro Se Plaintiff Attorney LD. # (if applicable}

 

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38. ] I} ? oN4 q

 

 

 

 

Civ, 609 (5/2018)

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. APPENDIX 1
IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA
CASE MANAGEMENT TRACK DESIGNATION FORM
8830

 

Cheyney University of Pennsylvania, et al,

NO.

in accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a case Management Track. Designation Form in ali civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
aide of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on

the plaintiff and ali other parties, a case management track designation form specifying the track to
which that defendant believes the case shonld be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

(a) Habeas Corpus ~ Cases brought under 28 U.S.C. §2241 through §2255.

(b) Social Security — Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefits

{¢) Arbitration -- Cases required to be designated for arbitration ander Local Civil Rule 53.2,

(d) Asbestos — Cases involving claims for personal injury or property damage from
exposure to asbestos.

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(ce) Special Management — Cases that do not fall info tracks {a) through (d} that are
commonly referred to as complex and that need special or intense management by
the court. (See reverse side of this form for a detailed explanation of special
Management cases.)

(f} Standard Management -- Cases that do not fall into any one of the ofher tracks.

July 24, 2019 Sf 2 ( ¢ Q , Plaintitt
Soaks

 

 

 

 

Date ( A}tetney-at-law Attorney for _

(215) 569-2500 (215) 569-2220 jenniferbell@bellandbelllaw.com
Telephone FAX Number E-Mail Address
(Civ, 660) 10/02

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s YO _ssIN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

 

 

NICOLE RAYFIELD,
Civil Action No.
PLAINTIFF,

v.
JURY TRIAL DEMANDED
CHEYNEY UNIVERSITY OF
PENNSYLVANIA,
JEFFREY JONES,

and

AARON WALTON

DEFENDANTS.

 

 

COMPLAINT AND JURY DEMAND
Plaintiff Nicole Rayfield, by and through her undersigned attorneys, Bell & Beil LLP,
hereby submits the following Complaint and Jury Demand (“Complaint”), as follows:

PRELIMINARY STATEMENT

 

i. This is an action for an award of damages, attorneys’ fees and other relief on behalf of
Plaintiff Nicole Rayfield (“Ms. Rayfield”), a former employee of Defendant Cheyney University
of Pennsylvania (“Cheyney” or “the University”), Ms. Rayfield has been harmed by the
Defendants’ retaliation against her, including, among other things, her wrongful termination, due
to her taking leave and attempting to take leave under the FMLA; her refusal to participate in
inappropriate and/or unlawful acts; and due to her having voiced complaints and concerns
regarding such wrongful and/or illegal acts by Defendants. Such wrongful and/or illegal acts

include, but are not limited to: (i) misuse of University scholarship funds, (ii) wrongful application
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and grants of scholarship funds, and (iii) the University’s acts in direct contravention to scholarship
requirements.! This action arises under the Family and Medical Leave Act, 29 U.S.C. § 2611, et
seq. (“FMLA”), the Pennsylvania Whistleblower Law, 43 Pa.C.S. § 1421, et seq. and the common
law of Pennsylvania.

JURISDICTIONAL STATEMENT
2. This Court has original jurisdiction over all civil actions arising under the Constitution,
laws, or treaties of the United States pursuant to 29 U.S.C. §§ 1331 and 1391.
3. The jurisdiction of this Court is also invoked pursuant to 28 U.S.C. § 1343(4), which grants
the District Court original jurisdiction in any civil action authorized by law to be commenced by
any person to recover damages to secure equitable or other relief under any act of Congress
providing for the protection of civil rights.
4, This Court has supplemental jurisdiction over any Pennsylvania state law claims pursuant

to 28 U.S.C. § 1367.

5. All conditions precedent to the institution of this suit have been fulfilled.
VENUE
6. This action properly lies in the Eastern District of Pennsylvania, pursuant to 28 USS.C, §

1391(b), because the claim arose in this judicial district.

 

! On May 16, 2019, Ms. Rayfield filed a Charge of Discrimination with the United States Equal
Employment Opportunity Commission (“EEOC”), which was dual-filed as a Complaint of
Discrimination with the Pennsylvania Human Relations Commission (“PHRC”) alleging sexual
discrimination, harassment and retaliation pursuant to Title VIT and the Pennsylvania Human
Relations Act (“PHRA”). Ms. Rayfield intends to seek leave to amend her Complaint after she
has exhausted her administrative remedies with respect to the Title VIE and PHRA claims alleged
in her Charge of Discrimination.

 
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PARTIES
7. Plaintiff Nicole Rayfield is an adult citizen and resident of Glenolden, Pennsylvania and
the United States of America.
8. Defendant Cheyney University of Pennsylvania is a public, co-educational university

located at 1837 University Circle, Cheyney, Pennsylvania 19319. Cheyney is a public university
that receives funding from the government, and thus is a public body as defined by the
Pennsylvania Whistleblower Law, 43 Pa.C.S. § 1421, et seq. (PWL”).

9. Defendant Jeffrey Jones is an adult individual with a business address of 1837 University
Circle, Cheyney, Pennsylvania 19319.

10. Defendant Aaron Walton is an adult individual with a business address of 1837 University
Circle, Cheyney, Pennsylvania 19319.

11.  Atall times material hereto, Defendant Cheyney acted by and through its authorized agents,
servants, workmen and/or employees acting within the course and scope of their employment with
Defendant Cheyney and in furtherance of Cheyney’s business.

12. Atall times relevant hereto, Plaintiff was an “employee” of Defendant Cheyney within the
meaning of the laws at issue in this suit and is entitled to the protections of such laws.

13.  Atall times relevant hereto, Defendant Cheyney acted as Plaintiff's “employer” within the
meaning of the laws at issue in this suit and, accordingly, is subject to the provisions of said laws.
14. _ At all times relevant hereto, Defendants Jeffrey Jones and Aaron Walton acted as
“employers” within the meaning of the FMLA and are accordingly subject to the provisions of
said laws.

15. Defendant Cheyney receives government funding from the Commonwealth of

Pennsylvania and/or the United States and, accordingly, is subject to the PWL.
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FACTS

 

16. | Ms. Rayfield began working for Cheyney in August of 2014. During her employment with
Cheyney, Ms. Rayfield was promoted several times. Although she began her employment with
Cheyney working part-time as Special Projects Coordinator, she was soon promoted to Director
of Student Programs and working full-time. She was thereafter promoted again as Director of the
Keystone Honors Academy.

17. Ms. Rayfield’s most recent position held at the University was Director of the Keystone
Honors Academy.

18. Defendant Jeffrey Jones was appointed in May of 2018 as Executive Director of
Enroilment Management for the University.

19. Defendant Aaron Walton is the University’s President.

20. Ms, Rayfield is highly skilled, educated and experienced in the field of Honors programs
and scholarships in an educational institution setting. Her prior experience included four years of
teaching as part of an Honors program, fourteen years working in higher education, and she is in
the process of obtaining her PhD in Organizational Leadership.

21, At the time of her termination, Ms. Rayfield was the Director of the Keystone Honors
Academy for the University. This position involved the oversight and administration of the
Keystone scholarship program awarded to certain students who qualified for the Keystone
scholarship. To be considered for a Keystone scholarship, every incoming University applicant
must have a minimum 3.0 GPA and a minimum combined SAT I score of 1080, and reside in the
Commonwealth of Pennsylvania; and every current University student must have a minimum 3.5
GPA and at least 24 credits, Specific policies and procedures were in place for the awarding and

administration of the scholarships.

 
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22. While employed at the University, Ms. Rayfield was a dedicated and loyal employee who
carried out her duties in accordance with the highest ethical standards, and performed all such
duties in a competent, efficient and exemplary manner.

23. Ms. Rayfield was very successful at her role at Cheyney. She never received any
disciplinary actions or negative evaluations or reviews while employed by Cheyney. In addition,
due to her tremendous success at her position, Cheyney created multiple positions based off of Ms.
Rayfield’s role in the Honors program to serve the rest of the student population.

24, Shortly after his employment at Cheyney began in May of 2018, Mr. Jones announced his
intention to change the way that the University handled the scholarship program, and took charge
of the program, despite Ms. Rayfield’s specific role in the oversight and administration of the
program. In fact, Ms. Rayfield was approached by several students, inquiring why Mr. Jones had
taken over her role, thus undermining Ms. Rayfield’s position and authority at the University.

25,  Forexample, by email dated June 15, 2018, Mr. Jones informed Ms. Rayfield that, effective
immediately, certain new processes would be put into place, including, among other things, the
removal of scholarship information from the Honors website and the referral of all scholarship
inquiries to Mr. Jones. Mr. Jones mandated that all scholarships letters and documentation were to
be generated from the Admissions Office.

26. By email dated July 23, 2018, Mr, Jones stated that, notwithstanding past practice and
policy, Cheyney would no longer offer scholarships to students who did not qualify upon entering
the University; and that, effective immediately, no Keystone scholarships could be awarded

without his prior approval.
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27. By email dated August 20, 2018, Mr. Jones stated that any commitments regarding
scholarships made by Ms. Rayfield would not be fulfilled, and reiterated that no scholarships were
to be awarded without his specific approval.
28. By email dated November 20, 2018, Mr. Jones mandated that, despite the previous practice
of awarding the Keystone scholarship to select students under certain conditions, that practice was
now discontinued, as the scholarships were only to be offered to incoming students.
29. Ms. Rayfield was excluded from meetings and was denied access to information about
honor stugents.
30. Despite several attempts to meet with Mr. Jones to discuss the honors program, Mr. Jones
consistently cancelled scheduled meetings between him and Ms. Rayfield.
31. In taking over Ms. Rayfield’s role, Mr. Jones, among other things: unlawfully and
inappropriately awarded scholarships to unqualified students; denied scholarships to qualified
students; ignored the appropriate policies and procedures for the awarding of scholarships to
students; and directed that certain scholarship funds go to unauthorized and improper sources.
32. The following are specific examples of the wrongful and/or illegal conduct of Defendants
with respect to the scholarships:
a, In July 2018, Defendants’ representative/University consultant Clifton Anderson
(“Mr. Anderson”) stated that, under the direction of Mr. Jones, the University was
going to use the Keystone scholarship to change the quality of students being
brought in to Cheyney. Mr. Anderson challenged the validity of the scholarship
_ requirements and said that Cheyney employees must be “flexible” in their
. interpretation of the scholarship requirements (thus evidencing Defendants’ plan to

ignore and violate scholarship requirements).

 
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b. In or about August 2018, Defendants made offers to 18 students who did not meet
the minimum qualifications for the Keystone scholarship. This brought about
several issues, such as: (i) students did not receive official notification of the
scholarship, in accordance with Keystone policy; (ii) Defendants did not notify

Keystone of the new recipients, resulting in an incomplete list of awarded

 

recipients; (iii) the awarding of under-qualified students resulted in difficulties for

 

their eligibility for induction into the Keystone Academy; (iv) students became
extremely‘confused as to what Keystone was and what requirements were; and (v}
students questioned the fairness of the Keystone program when they discovered
that under-qualified and/or ineligible students were receiving scholarships.

c. For example, Mr. Jones stated that he was awarding a scholarship to a student who
did not qualify for the scholarship based upon her low GPA. The student’s GPA
was 2.81, and the scholarship required a GPA of 3.0 or above. Mr. Jones gave this
student a scholarship simply because she was a family friend of his, with the hope
that her mother would encourage other potential students to attend Cheyney.

d. Mr. Jones also promised a Keystone scholarship to a current student who was not
qualified for the scholarship because he did not have the requisite 24 credits. This
promise made by Mr. Jones occurred shortly after he admonished Ms. Rayfield
about making a verbal promise of a scholarship to a student.

e. In August 2018, Ms. Rayfield provided a list of students who qualified for the
Keystone scholarship and should have been awarded the scholarship. These
students did not receive the scholarships because Mr. Jones did not want to give it

to them.
Case 2:19-cv-03230-MMB Document1 Filed 07/24/19 Page 11 of 18

f. Defendants misinformed students about the rules, policies and procedures with
respect to the Keystone scholarship, resulting in inaccurate and misleading
information given to students regarding, among other things, the provision of

laptops, cost of single rooms, and the requirement of an Honors class in the

 

curriculum.

g. Ms. Rayfield was informed that Mr. Jones authorized a flect of new cars for the
entire admissions staff, but did not indicate how it would be paid.

h. Defendants decided to discontinue the offering of another scholarship opportunity
known as Bond Hill (“Bond Hill”), which provided scholarship funds for Cheyney
students to go to graduate school. Upon information and belief, these additional
funds from Bond Hill are being used for unauthorized and improper purposes.

i. Defendants improperly used leftover scholarship funds to pay certain staff member
salaries, including those in the financial aid and bursars’ offices.

j. Defendants improperly gave scholarships with the purpose of inflating enrollment
so the University could pass the Middle State Accreditation Commission, and
students who withdrew were not purged to make the enrollment number larger.

k. Defendants improperly awarded scholarships without obtaining transcripts, leading
to decreased enro{iment when scholarship students were wrongfully billed for their
semester of classes.

33. Ms. Rayfield openly expressed her concerns numerous times regarding the inappropriate
and improper actions and inactions being taken with regard to the scholarships, both verbally and
in writing. Specifically, on August 30, 2018, Ms. Rayfield sent Dr. ent an email detailing certain

of the policy violations that had been taking place at Cheyney regarding the scholarships. Further,
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by email to Mr. Jones dated November 16, 2018, Ms. Rayfield noted that students were confused
when Mr. Jones verbally promised scholarships, which led to their beliefs that: (1) they did not
have to adhere to scholarship policies or procedures, and (2) Mr. Jones, rather than Ms. Rayfield,
was in charge of the scholarships. Ms. Rayfield requested that Mr. Jones clarify to the students the
division of responsibilities and administration of the scholarships.

34. Ms. Rayfield also expressed her concerns and significant discomfort regarding Mr. Jones’
inappropriate and unprofessional acts in-the workplace.

35. By email to Mr. Jones dated December 19, 2018, Ms. Rayfield stated that she understood
that Mr. Jones had certain goals with respect to the University’s growth, but requested that
communications be more professional (i.c., that Mr. Jones refrain from using all capital letters and
refrain from attacking Ms. Rayfield on her capabilities).

36. Ms. Rayfield further noted that she would like to move forward on working on a respectful,
student-centered relationship, and requested a meeting to collaborate on how best to proceed.

37. By emaii to Cheyney President Aaron Walton dated December 19, 2018, Ms. Rayfield
noted that Mr. Jones had been unprofessional, inappropriate and non-communicative with her with
respect to changes in scholarship policy.

38. Ms. Rayfield did not receive any follow-up communication to either email.

39, On November 19, 2018, Ms. Rayfield fell down the stairs of her building.

40, She took a leave pursuant to the FMLA and returned to work on December 12, 2018.

41, During this time, Mr. Jones had several meetings in her absence regarding the scholarships.
42. An MRI taken after her fall demonstrated that Ms. Rayfield had a separate medical

condition that required surgery.
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43, In December 2018, Ms. Rayfield notified Vicki Strong, Benefits Manager at Cheyney, that
she would soon require surgery due to this condition and that she would be requesting paperwork
for FMLA benefits.

44, The following month, on. January 24, 2019, consistent with their December
communication, Ms. Rayfield requested paperwork from Ms. Strong for FMLA benefits.

45. Specifically, Ms. Rayfield informed Ms. Strong that she was scheduled for major surgery
on February 13 and would be out for a duration of 4-6 weeks or longer, depending on her recovery
process.

46. Ms. Rayfield offered her surgery paperwork if needed.

47. Ms. Strong told Ms. Rayfield that she would be receiving paperwork shortly.

48. Ms. Rayfield never received the paperwork for her requested FMLA benefits.

49. On January 28, 2019, Ms. Rayfield was terminated and was told that the reason for her
termination was financial.

50, The timing of Ms. Rayfield’s termination, coupled with the lack of any legitimate
justification for her termination, indicates that the real reason for Ms. Rayfield’s termination was
retaliation on the part of Defendants.

51. The reason given for Ms. Rayfield’s termination is pretextual.

§2. Given the circumstances surrounding her termination on January 28, 2019, Ms. Rayfield
was terminated in retaliation for seeking and/or taking leave pursuant to the FMLA; for refusing
to participate in what she believed was wrongful, improper, unethical and/or unlawful acts with
respect to the University scholarships; and for voicing her concerns regarding the Defendants’

wrongful, improper, unethical and/or unlawful acts with respect to the University scholarship

10

 
Case 2:19-cv-03230-MMB Document1 Filed 07/24/19 Page 14 of 18

funds, including, but not limited io, the misuse of scholarship funds, the misdirection of
scholarship funds, and acts taken in direct contravention to scholarship requirements.

53. Defendant Cheyney retaliated against Ms. Rayfield in violation of the Pennsylvania
Whistleblower Law.

54. Defendant Cheyney violated Pennsylvania public policy, by terminating Ms. Rayfield in
retaliation for her opposition to and refusal to engage in unethical, improper and/or illegal activity.
55, Defendants retaliated against Ms. Rayfield in violation of the FMLA.

56. Ms. Rayfield has suffered lost wages and other benefits of employment due to Defendants’
wrongful acts, as alleged herein.

57. Ms. Rayfield’s financial losses, include, but are not limited to, lost wages, additional sums
paid for medical coverage, and the necessity of paying attorneys’ fees and costs to pursue this
action, as a direct and proximate result of the actions and inactions of Defendants.

58. Ms. Rayfield has suffered and continues to suffer mental anguish and severe emotional
distress as a result of the actions and/or inactions of Defendants.

$9. In addition, Ms. Rayfield was compelled to delay the necessary surgery for her medical
condition, as she was abruptly stripped of her medical coverage and could not obtain replacement
coverage in time for her surgery: date, which has caused further pain and anguish.

60. Ms. Rayfield has-also suffered undue hardship in. obtaining her PhD, as her dissertation
was based on data at Cheyney, which is no longer available to her, and thus, the wrongful
termination of Ms. Rayfield’s employment is negatively affecting her scholarly ability to obtain

her degree. --
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61. Defendants and their agents and employees involved in the conduct described herein all
acted with the intent of causing, or in reckless disregard of the probability that their actions would
cause Ms. Rayfield severe emotional distress and undue hardship.
COUNT I
Fhe Family.and Medical Leave Act, 29 U.S.C. § 2611, et seq.
(Plaintiff v. All Defendants)

62. Plaintiff repeats and incorporates by reference the allegations of all previous paragraphs as
if fully set forth at length herein. | | |

63. Defendants? conduct, in 1 retaliating against Ms. Rayfield for taking and attempting to take
leave pursuant to the Family and Medical Leave Act, violated the FMLA.

64. Defendants’ violations of the FMLA were intentional and willful, as Defendants knew or
should have known the requirements of the FMLA.

65. Defendants’ violations of the FMLA warrant the imposition of liquidated damages.

66. Asa direct and proximate result of Defendants’ violations of the FMLA, Ms. Rayfield has
sustained a loss of earnings, loss of medical coverage for pending surgery of which Defendants
were aware, severe emotional and psychological distress, personal embarrassment, loss of self-
esteem, loss of earning power, back-pay, front-pay, interest due thereon, and has incurred
attorneys’ fees and costs.
67. Plaintiff Nicole Rayfield is now suffering and will continue to suffer irreparable harm and
monetary damages as a result of Defendants’ actions unless and-until this Court grants the relief

requested herein.

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COUNT I
Wrongful Termination
(Plaintiff v. Cheyney)
68. Plaintiff repeats and incorporates by reference the allegations of all previous paragraphs as
if fully set forth at length herein.
69. Defendant Cheyney terminated Ms. Rayfield as a result of Ms. Rayfield’s opposition to
and refusal to engage in unethical, improper and/or illegal activity as alleged herein.

70. Defendant Cheyney terminated Ms. Rayfield in violation of Pennsylvania public policy for

her refusal to engage in unethical, improper and/or illegal activity.

71. The above described conduct of Defendant Cheyney constituted wrongful termination of:
Plaintiff.
72. Defendant Cheyney’s actions were willful and malicious, and warrant the imposition of

punitive damages.

73.  Asaresult of her wrongful termination, Ms. Rayfield has suffered, among other things,
lost wages, including lost benefits, and loss of income potential.

74. As aresult of her wrongful termination, Ms. Rayfield has suffered severe emotional and

psychological distress.

COUNT HIT
Pennsylvania Whistleblower Law
(Plaintiff v. Cheyney)
75. Plaintiff repeats and incorporates by reference the allegations of all previous paragraphs as
if fully set forth at length herein.

76. Ms. Rayfield made good-faith reports to her employer, by complaining to her supervisors,

that Defendant Cheyney was engaged in waste or wrongdoing.

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77, In retaliation for her complaints, Defendant Cheyney terminated Ms. Rayfield in violation
of the PWL.
78. Ms. Rayfield has suffered financial iosses as a direct and proximate result of the actions
and inactions of Defendant Cheyney.
79. Asa resuit of Defendant Cheyney’s conduct described herein, Ms. Rayfield has incurred
financial damages, including but not limited to, lost earnings, lost medical benefits and coverage
for a pending surgery known of by Defendants, and has incurred a significant obiigation for
attorneys’ fees and costs due to having to bring this action.
80. Asa result of Defendant Cheyney’s conduct described herein, Ms. Rayfield has suffered
and continues to suffer significant emotiona! and psychological distress.
81. Defendant Cheyney and its agents and representatives acted with knowledge of, or in
reckless disregard of, the probability that their actions and inactions would cause Ms. Rayfield to
suffer emotional distress.
PRAYER FOR RELIEF
82. Plaintiff repeats and incorporates by reference the allegations of all previous paragraphs as
if fully set forth at length herein.
WHEREFORE, Plaintiff Nicole Rayfield respectfully requests this Court enter judgment
in her favor and against Defendants, and Order:
a. Appropriate equitable relief including reinstatement or front pay;
b. Defendants. compensate Plaintiff Nicole Rayfield with a rate of pay and other
benefits and emoluments of employment to which she would have been entitled
had she not been subjected to the uniawful retaliation and wrongful termination

alleged herein;

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c. Defendants compensate Plaintiff Nicole Rayfield with the wages and other benefits
and emoluments of employment lost due to Defendants’ unlawful conduct;

d. Defendants pay Plaintiff Nicole Rayfield punitive damages;

e. Defendants pay Plaintiff Nicole Rayfield compensatory damages for future
pecuniary losses, pain and suffering, inconvenience, mental anguish, loss of
employment and other nonpecuniary losses as allowable;

f. Defendants pay Plaintiff Nicole Rayfield’s attorneys’ fees and costs;

g. Plaintiff be awarded any and all other remedies available pursuant to the FMLA,
PWL and Pennsylvania Common Law; and

h. Such other and further relief as is deemed just and proper.

JURY DEMAND

Plaintiff Nicole Rayfield hereby demands trial by jury as to all issues so triable.

BELL & BELL LLP

By: Neh Pekk
Hanif C.ell, Esq.
P orney LD. No. 81045
1617 JFK Boulevard -- Suite 1254

Philadelphia, PA 19103
Telephone No.: (215) 569-2500

Attorneys for Plaintiff Nicole Rayfield
Dated: July 24, 2019

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